 

# Ds 124299
Case 3:20-cv-01386-E-BT Document 3 Filed 05/29/20 Page 1of33 PagelD5
UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAS

NMvMaAYVA
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of * O

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Ciifton R. RockerS
Plaintiff 3-Z20CV1386-B

 

V.

3 Ho ragemenT Secvees lic.

Defendant

Civil Action No.

 

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* Attach additional pages as needed.

Date

Signature

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Print Name Ciifron (> - RerlaersS
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Address

3709 Shepheed Cak Gi # 42 /

City, State, Zip E+. Werth >—TxK Te.
Telephone 4 T2QA-4HEO -1IS7 ZY
 

Case mY Document 3 Filed 05/29/20 Page 2of33 PagelD 6

Current pes idence,

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Clfom R. intdgers |

2304 Skiphud Oaks Ge. AghArH2 |

Forth, Wor thr 1 7Eue

Phone. # 922-480-1898

Smal adress CiuFTON Codgers OS2 @ gmail.com

 

Old residence a= why SswpGyerl by BUMSUC.

 

$150 N syremmonp frwy * 2616
Dallas; Te 75243

 

 
 

or

Case 3:20-cv-01386-E-BT Document 3 Filed 05/29/20 Page 3o0f33 PagelD 7

@ MANAGEMENT SERVICES, LLC

4

Disciplinary Action Form

 

04/25/2019

 

 

 

 

 

isciplinary Level

[ | Written Warning

 

[| Final Written Warning

Termination

Incident Description and Supporting Details (Witnesses(es), location, specific policy reference or job duties
that have not been performed)

Employee Name:___ Clifton Rodgers Employee Number: ATE Date of Nire:_
. Maintenance Supervisor - a Forést Hills
Job Title: P Property Name: . +. aoe,
. ‘ a -
. 04/25/2019 . . Brandon Dominic
Position Start Date: Supervisor Name. ik ST
oo, Behavior . Various

Type of Violation: | ee Date & Time:

(Attendance, Performance, Behavior, etc.) (Approximate Date & Time of Incident)

 

 

HR Department has received multiple statements and reports of unsatisfactory personal conduct.
This includes verbal abuse, disrespectful attitude whiie working with coworkers, raising your
voice when speaking to others, and inappropriate language around and towards other coworkers.

On 06/19/2019 I arrived at work at 8:05 and noticed Clifton sitting in the chair drinking coffee,
he was on the clock. I told him that we have help coming today to complete work orders to help
us get caught up. I asked him two different times this morning to get together work orders / keys
and have them ready for the person that is helping when they arrive. Clifton did not prepare the
work orders or keys as requested. Around 9:15AM I walked out to my car and noticed Clifton
and Bruce working together to clean the pool. I asked Clifton a third time to prepare the work
order stack and this time I asked to review this when it is ready. He replied back and told me that
he would come in the office and talk to me about it just to give him a minute. His tone was very
demanding and irritated. After returning from my car on the sidewalk beside the pool Clifton met
me and told me that I need to learn where my job starts and where it stops. All maintenance
related inquiries are to be through Clifton and he is the one in charge of maintenance. He told me
that I need help understanding what my job is and wiere it stops. Clifton also told me that I
continuously step over the line and get involved with maintenance when that is not my job.
Clifton also told me that he did not sign up for this and to be managed and checked up on by his
manager. He said he doesn't want to go back 40 years and be a service tech again. He again
reiterated that he is a maintenance manager not a service tech. Clifton has displayed a
unsatisfactory attitude and insubordinate behavior with his direct supervisor.

 

 

Digitally signed by Monica

Monica Champagne Champagne 06/19/19
Date: 2019.06.19 10.49 34 05°00"

Human Resources Signature Date
(Required)

Disciplinary Action Form
Revised: 2/2019
 

Case 3:20-cv-01386-E-BT Document 3 Filed 05/29/20 Page 4of33 PagelD 8

@ MANAGEMENT SERVICES, LLC

Employee Warning Report

Corrective Action (List detailed steps for improvement and plans for follow-up.)

 

 

 

 

‘Consequence Shoulc Incident Gccur Again

 

[Termination of E mployment

Prior Incidents of Same Policy Violation (Recorded and in employee’s personnel file)

 

Date Description

 

 

 

 

 

Employee is warned that any further violations of company policy, company practices or unsatisfactory
performance will result in disciplinary action, up to and including termination of employment.

By signing this document, you are acknowledging that you have read and understand this warning decision and
your supervisor has reviewed its contents with you. A copy ot iais document will be placed in your personnel
file.

 

 

 

Print or Type Name of Employe¢ - Employee Signature Date
Brandon Dominic 06/19/2019
Print or Type Name of Issued By Issued by Signature Date
j "Human Resources Signature” Date
> (Required)

Disciplinary Action Form
Revised: 2/2019
Case 3:20-cv-01386-E-BT Document 3 Filed 05/29/20 Page 5of33 PagelD9

BH) MANAGEMENT SERVICES,LLC

Employee Warning Report

 

Employee Comments (Optional)

 

 

 

 

Employee Signature

Date

Disciplinary Action Form
Revised: 2/2019
Case 3:20- - -
472 370-1 1 G¥5Q1386 E-BT
Ul Support & Customer Service
TEXAS WORKFORCE COMMISSION

PO BOX 901010
FORT WORTH TX 76101-2010

cument 3 Filed 05/29/20

DETERMINATION ON PAYMENT OF UNEMPLOYMENT BENEFITS

Date Mailed: July 17, 2019

CLIFTON R RODGERS
8150 N STEMMONS FWY APT 20164
DALLAS TX 75247-4104

Page 6 of 33 PagelD 10

WH UU

Social Security Number: XXX-XX-8522
Employer: BH MANAGEMENT SERVIC
As:

Employer Account No:
All dates are shown in

13-921381-5

 

 

 
    

  

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from Work

Pa eee
Issue: Separation
Decision: We can
able and available to work, and
Reason for Decision: Our investigation found
not misconduct connected with the work.

Law Reference: Section

Tun Decision

be actively searching for work.
that your employer

Understanding

If you receive a decision that says, "we cannot
with your claim EVEN IF you have received other
pay you benefits." If even one decision for the
receive an unemployment payment for that period.
To resolve issues on decisions you receive:
4. Follow instructions on the notice(s); call the

questions;
2. If the instructions tell you to
3. If you disagree with a decision,

appeal deadline. If you fax your appeal,
Your employer can appeal TWC’S decision to pay benefits.
hearing. If you do not participate,
received.

your Decision

decisions

"Report," call
file an appeal.

   

pay you benefits, if you meet all other weekly requirements,

pay you benefits,"
for the same period that say,
same period says we cannot pay, you will not

month-day-year order.

such as being

fired you for a reason that was

207.044 of the Texas Unemployment Compensation Act.

it means there is 4 problem
"we can

Tele-Center at 800-939-6631 if you have

the Tele-Center at once;

Appeal each decision separately by the
keep a confirmation sheet.

Twe will
you may lose your benefits and have to repay benefits you

notify you of any appeal

 

 

Your last employer
chargeback does not apply. If we use
expired, we will notify the employer who will

the wages paid in a

Determination of Potential chargeback for the Employer OA dake aes

did not report wages for you during the base period
jater claim,
have a separate right to

 

ae

of this claim, therefore
after this claim has
protest at that time.

 

: ifsYou Disagree with this Decision ~ Rates Oa

       

If you disagree with this decision, you may appeal. Submit your appeal by mail, fax, online, or in person at any

Texas Workforce Solutions office, on or before 07-31-19 ,
TWC will use the postmark date, or the date we receive the fax or online form,
appeal on time.

of this determination notice with your appeals correspondence.

If you appeal by fax, you should keep your fax confirmation as proof you sent it.

to determine whether you submitted your

Please include a copy

If you receive multiple determination notices, you must appeal each determination separately.

‘Mail the appeal to: Appeal Tribunal

  
 

 
     

Texas Workforce Commission
101 E. 15th Street
Austin, TX 78778-0002
Or fax to (512) 475-1135

Please See Reverse For How To File An Appeal.
BD300E 02/28/2018

You may appeal by submitting
TWC’s online appeal form. Go to

  
   
   

 
 
  

 

Case No.:
Claim ID.: 06-16-19
Claim Date: 06-16-19
HEARING IMPAIRED CLIENTS
CALL 711 for RELAY TEXAS

23

    
 

Case 3:20-cv-01386-E-BT Document 3 _ Filed 05/29/20 Page 7of33 PagelD11
TEXAS WORKFORCE COMMISSION

WF’SOL DALLAS IRVING
2520 W IRVING BLVD STE 100
IRVING TX 75061

3) 07-22-19

CLIFTON RODGERS XXX-XX-65ee
8150 N STEMMONS FWY APT eOLé
DALLAS TX 7524?

INTC

Dear CLIFTON

 

You are receiving this letter because you recently filed a claim for unemployment
benefits. To maintain eligibility for receiving unemployment benefits, you must
be actively searching for work and participate in all scheduled reemployment
activities.

You have been scheduled to attend a mandatory reemployment orientation on the
date and at the time and location designated below. This orientation offers you
an opportunity to work directly with a reemployment specialist to help get back
to work as quickly as possible.

You are scheduled to attend the following orientation:

 

Date: 08-16-19 Address: WF SOL DALLAS IRVING
2520 W IRVING BLVD, STE 100
Time: 9-11:30 am Friday IRVING, Texas 75061-4232
For questions, call: Special Instructions:
**Online Orientation not available*
972-573-3500 ESPANOL 08/22/2019 a las 1:30 pm

 

 

 

It is important to understand that failure to attend this orientation or complete
the reemployment activities shown below could result in a delay or denial of your
unemployment benefits. (See the Unemployment Insurance Benefits Handbook.)

| You are required to participate in the following reemployment activities:

« Attend reemployment orientation, which introduces you to the services available
at your local Workforce Solutions Office.

to assess your eligibility for continued unemployment benefits.
=» Discuss your work history with Workforce Solutions Office staff, examine job

trends in your area, and discuss potential referrals to career services and/or
training opportunities.

|
«» Meet with Workforce Solutions Office staff to develop a reemployment plan and

It may be necessary for you to return to the Workforce Solutions Office if all
services are not completed on the day of orientation.

If you are currently working or are unable to attend the orientation on the date
listed above, or if you need special accommodations, call your local Workforce
Solutions office using the contact information above. You should also update your
WorkInTexas.com matching criteria and resume before attending the mandatory
orientation.

Keep this letter for your personal records.

Law Reference: Subsection 207.021(a)(9) of the Texas Unemployment Compensation
Act.

TEXAS WORKFORCE COMMISSION

FORM ESRRI (0319)

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445 365-1 C3367
Ul Support SaBetane0-erod 386-E-B
TEXAS WORKFORCE COMMISSION

PO BOX 2211 3
MC ALLEN TX 78502-2211

INFORMATION REQUEST

Document 3 Filed 05/29/20 Page 8 of 33 PagelD 12

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Date Mailed: July 8, 2019
CLIFTON R RODGERS
8150 N STEMMONS FWY APT 2014
DALLAS TX ?5247?-4104
WacubababesstelalsaDlecsbabesdecl | eccdolelel tcc Social Security Number: XXX-Xx-8522
All dates are shown in
= month-day-year order.
IMPORTANT

 

TWC will make a decision about your claim, based on available information.

PLEASE RESPOND AS SOON AS POSSIBLE but no later than

07-15-19

* We need information from you regarding your right to benefits.

 

INSTRUCTIONS

Please Call: SANDRA M SAENZ

(800) 819-9488 Ext. 7236

Please call as soon as possible but no later than

3:00 PM O7-15-19

PLEASE NOTE: TWC could delay or deny payment of unemployment

benefits if you do not respond to this notice.

 

 

Page 1 of 1

 

BDG6O0E 05/22/12

Case No.: 23

Claim Id.: 06-16-19

Claim Date: 06-16-19

TWC Office Fax No.: (512) 322-2875
Hearing - Impaired clients
dial 711 for Relay Texas

 

 
Case 3:20-cv-01386-E-BT Document 3 5°) 05/29/20 Page 9of33 PagelD 13

WE’SOL DALLAS IRVING TEXAS WORKFORCE COMMISSION

2520 W IRVING BLVD STE 100 ‘
IRVING TX 75061

07-22-19

 

CLIFTON RODGERS XXX-XX-85ee
4150 N STEMMONS FWY APT 201d
DALLAS TX ?524? .

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2520 W IRVING BLVD, STE 100
Time: 9-11:30 am Friday IRVING, Texas 75061-4232
For questions, call: Special Instructions:
**Online Orientation not available*
972-573-3500 ESPANOL 08/22/2019 a las 1:30 pm

 

 

 

 

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Keep this letter for your personal records.

Law Reference: Subsection 207.021(a)(9) of the Texas Unemployment Compensation
Act.

1208
TEXAS WORKFORCE COMMISSION
 

Case 3:20-cv-01386-E-BT Document B d 05/29/20 Page 100f33 PagelD 14

Ul Support & Customer Service
TEXAS WORKFORCE COMMISSION

PO
FOR

320417410002290104

BOX 901010

T WORTH TX 76101-2010
Date Mailed: June 24, 2019

wa

Social Security Number: XXxX-XxX-8522

we All dates are shown in
month-day~-year order.

CLIFTON R RODGERS
8150 N STEMMONS FWY APT 2018
DALLAS TX ?524?-4104

 

Dear CLIFTON FR RODGERS

IMPORTANT |

TWC sends this Unemployment Insurance (Ul) Benefits Information handbook and other material to everyone

who

applies for Ul benefits. Please read all the information and follow all instructions TWC sends you. You

must follow all Ul laws and rules to receive benefits.

Help
*

ful tips:

Complete your WorkInTexas application immediately at your nearest Texas Workforce Solutions
office (see below) or online at www.WorkInTexas.com. Click register as a job seeker. If you live
out of state, you must register at a workforce office in that state.

Each week that you request benefits, you must complete 4 work search activities. We
included a sample of a work search log. TWC may ask for your log at any time, so keep it up to
date. Tips for a Productive Work Search, sent separately, explains the types of work search
activities you should record in your log.

To request benefits or check the status of your claim, log on to uitexasworkforce.org, or Call
Tele-Serv, our interactive voice response system (see below). In a separate envelope, we mailed you
instructions on how to use our Web site and Tele-Serv, and when to request payment. TWC will
call you or mail you a letter if we need more information about your claim.

If you lost your job due to foreign imports, ask your Workforce office about Trade Adjustment
Assistance. You may be eligible for special training benefits.

If you need customer assistance, call the Tele-Center number below. Please keep this cover sheet for

futu

re use.
Payment Request website: ui.texasworkforce.org

Tele-Serv Telephone Number: (g00) 558-8321

TWC Unemployment Insurance Tele-Center Number: (800) 939-6631

TWC Fax Number: (512) 322-2840

Workforce office closest to you: we so_ DALLAS IRVING
2520 W IRVING BLVD STE 100

 

IRVING, TX 75061-4232 229
(972) 573-3500 FOR HEARING IMPAIRED CLIENTS
BIL40F 05/03/10 Relay Texas Voice: 1-800-735-2988

Balaw Taves TAM Na 1-RN0-725-79R9

 
Case 3:20-cv-01386-E-BT Document’3 Filed 05/29/20 Page 11o0f33 PagelD15

445 365-1 C3367
Ul Support & Customer Service
TEXAS WORKFORCE COMMISSION

PO BOX 2211
MC ALLEN TX 78502-2211

INFORMATION REQUEST
Date Mailed: July 8, 2019

LOLOSPPOOOLBSL POZE

 

CLIFTON R RODGERS
8150 N STEMMONS FWY APT e018
DALLAS TX ?524?-4104

VDevebebaDascdadabeaUDoccbaleadersl MU bvcsclecdelastlecnsclll Social Security Number: -XX-8522

All dates are shown in
. month-day-year order.

 

| IMPORTANT

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x We need information from you regarding your right to benefits.

 

 

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Case No.: 23
Claim Id. 06-16-19
Claim Date: 06-16-19
| TWC Office Fax No.: (512) 322-2875
Hearing - Impaired clients
Page lof il dial 711 for Relay Texas
 

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Case 3:20-cv-01386-E-BT Document 3 Filed 05/29/20 Page 13 of 33 PagelD 17

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Case 3:20-cv-01386-E-BT Document 3 Filed 05/29/20 Page 18o0f33 PagelD 22

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5) Case 3:20-cv-01386-E-BT Document 3 Filed 05/29/20

RE: Password

Max Moon
Ved 5/15/2019 12:50 PM

To: Megan Erickson <Megan.Erickson@bhmanagement.com >
Cc: Brenda Ramos <Brenda.Ramos@bhmanagement.com>

His login is

Clifton.Rodgers@bhmanagement.com
Password@123

 

Max Moon | Active Directory Administrator

Extension: 1449
Phone: (515) 410-9335

From: Megan Erickson

Sent: Wednesday, May 15, 2019 12:42 PM

To: Max Moon <Max.Moon@bhmanagement.com>

Cc: Brenda Ramos <Brenda.Ramos@bhmanagement.com>
Subject: FW: Password

Wax,

Page 20 of 33 Pagel 4414

Would you be able to help Clifton get his access to SharePoint. He seems to be having some trouble

logging in.
Thank you.

Megan

Megan Erickson | Regional Coach

Extension. 1552
Phone: (469) 250-1918
Fax: (469) 607-0949

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Clifton Rodgers @hiftore Reddjeng 396-E-BT Document 3. Filed 05/29/20 - Page 22 of 33 PagelD 26 12/10/2019

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EEOC form 5 (11)

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [] FEPA
Statement and other information before completing this form

[x] Eeoc 450-2020-03046

Texas Workforce Commission Civil Rights Division and EEOC
State or local Agency, if any
Name (indicate Mr., Ms., Mrs.) Home Phone (inci. Area Code) Date of Birth
Clifton R. Rodgers (972) 480-1898 1952

 

 

 

Street Address City, State and ZIP Code

7309 Shepherd Oaks Cir, Apt 421, Fort Worth, TX 76112

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

 

Name No. Employees, Members Phone No. (Include Area Code)
BH MANAGEMENT SERVICES LLC 15-100 (214) 965-9363
Street Address City, State and ZIP Code

2711 North Haskell Ave, Ste 2650, Dallas, TX 75240 aECE WE eu

Name No es Members analy (Include Area Code)

 

 

 

 

Street Address City, State and ZIP Code Avie
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a ; TRY
DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) SScnueoN TOOK PLACE

Earliest Latest

[x] RACE [| COLOR [| SEX [| RELIGION [ NATIONAL ORIGIN 05-01-2019 06-19-2019

[x] RETALIATION [x] AGE [| DISABILITY [| GENETIC INFORMATION
[| OTHER (Specify) [| CONTINUING ACTION

 

 

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):

PERSONAL HARM:

a. Starting around May 11, 2019, and throughout my tenure, | was subjected to continuous
harassment by the Property Manager, Brandon, and the Regional Manager, Kerry. Examples include,
but are not limited to, having my supervisory responsibilities removed, being isolated and forced to
work alone and subjected to unsubstantiated racial remarks when Kerry stated that she felt unsafe
when "two big black men" had approached her car, which | found offensive.

b. On or around June 19, 2019, | was wrongfully terminated.

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

procedures. | swear or affirm that | have read the above charge and that it is true to

 

 

| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

reboy, 2020 afin R. Rocky ova SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
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R.Reebers 1-27-20

Date Charging Party Sonaions

 

 

 

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CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [] FEPA
Statement and other information before completing this form.
EEOC 450-2020-03046
Texas Workforce Commission Civil Rights Division and EEOC
State or local Agency, if any

RESPONDENT'S REASON FOR ADVERSE ACTION:
a. No reason given.
b. | was informed | was being terminated for unsatisfactory attitude and termination.

DISCRIMINATION STATEMENT:

| believe that | have been discriminated against because of my race, black, in violation of Title VII of
the Civil Rights Act of 1964, as amended and because of my age, 66, in violation of the Age
Discrimination in Employment Act of 1967.

| believe that | have been retaliated against in that | was demoted after not responding to after-hours
group texts from management, which were in violation of company policy, in violation of Section
704(a) of Title Vil of the Civil Rights Act of 1964, as amended in violation of Section 4(d) of the Age
Discrimination in Employment Act of 1967.

 

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| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

procedures.

 

 

| swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.

SIGNATURE OF COMPLAINANT

Feb 27, 2020 \ Kaha ory, SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
—e ee (month, day, year)
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Date Charging Party Signature {2

 

 

 
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Form 161
INFORMATION RELATED TO FILING SUIT
4 UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS_~ --

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE~_---__‘ Ali Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.

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EEOC Form 163 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM
q DISMISSAL AND NOTICE OF RIGHTS
To: Clifton R. Rodgerd From: Dallas District Office
7309 Shepherd Oaks Cir 207 S. Houston St.
Apt 421 3rd Floor
Fort Worth, TX 76112 Dallas, TX 75202
[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Kelly A. Melton,
450-2020-03046 investigator (972) 918-3608

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

BK OOUOUU

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

aan

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

 

On behalf of the Commission FEB 2 / 2120
aa a a,
Enclosures(s) ~ Belinda F. McCallist a (Date Mailed)

District Director

cc:

Monica Champagne

HR Manager

BH MNAGEMENT SERVICES LLC
2711 North Haskell Ave

Ste 2650

Dallas, TX 75240

 
 

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CF Enclosur® with EEOC Form 5 (11/09)

Privacy AcT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
personal data and its uses are:

1. FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).
2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. | PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not) are, as applicable under the EEOC anti-
discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
to invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin |
state or local proceedings. |

4. Routine Uses. This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
reduced to writing and should identify the charging and responding parties and the actions or
policies complained of. Without a written charge, EEOC will ordinarily not act on the complaint.
Charges under Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form
or by presenting a notarized statement or unsworn declaration under penalty of perjury); charges
under the ADEA should ordinarily be signed. Charges may be clarified or amplified later by
amendment. It is not mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, it will notify you of its final
resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's
final findings, you must ask us in writing to do so within 15 days of your receipt of its findings.
Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

Notice OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is
taken against you or others who oppose discrimination or cooperate in any investigation or
lawsuit concerning this charge. Under Section 704(a) of Title VII, Section 4(d) of the ADEA,
Section 503(a) of the ADA and Section 207(f) of GINA, it is unlawful for an employer to
discriminate against present or former employees or job applicants, for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for

exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.

 
 

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JS 44 (Rev, 06/17) - TXND (Rev. 06/17)

provided by local rules of court. This form, approved by the Judicial Conference of the

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

nited States in September 1974, is required for the use of the Clerk of Court for the

 

I. (a) PLAINTIFFS

CLi Fen R Radgers

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIF

(c) Attorneys (Firm Name, Address, and Telephone N4

IL. BASIS OF JURISDICTION (Place an "X"

O 1 U.S. Government

Plaintiff

O 2. U.S. Government
Defendant

 

Federal Question

x:

44° Diversity

(Indicate Citizenship of Parties in Item II)

waiber)

(U.S. Government Not a Party)

RANT

DEFENDANTS

 

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Attarneys (if Known)

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County of Residence of First Listed Defendant ( YALLAS

c5eg ULC

(IN US. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

B-20CVI386~-B

 

 

IV. NATURE OF SUIT (Place an “x” in One Box Only)

 

(For Diversity Cases Only)

PTF

Citizen of This State

Y

Citizen of Another State a

Citizen or Subject ofa qa

Foreign Country

SHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff

and One Box for Defendant)

DEF PTF DEF
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of Business In This State
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FORFEITURE/PENALTY _|

 

© 625 Drug Related Seizure
of Property 21 USC 881
O 690 Other

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O 422 Appeal 28 USC 158
O 423 Withdrawal
28 USC 157

O 820 Copyrights

© 830 Patent

© 835 Patent - Abbreviated
New Drug Application

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1 151 Medicare Act © 330 Federal Employers’ Product Liability
152 Recovery of Defaulted Liability © 368 Asbestos Personal
Student Loans O 340 Marine Injury Product
(Excludes Veterans) 0 345 Marine Product Liability
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY
of Veteran's Benefits © 350 Motor Vehicle © 370 Other Fraud
0 160 Stockholders’ Suits © 355 Motor Vehicle 0 371 Truth in Lending
0 190 Other Contract Product Liability © 380 Other Personal
© 195 Contract Product Liability | 360 Other Personal Property Damage
0 196 Franchise Injury O 385 Property Damage

© 362 Personal Injury -
Medical Malpractice

Product Liability

 

[ REAL PROPERTY

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PRISONER PETITIONS

 

© 210 Land Condemnation

© 220 Foreclosure

© 230 Rent Lease & Ejectment
O 240 Torts to Land

© 245 Tort Product Liability
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0 441 Voting
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443 Housing/
Accommodations
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Employment
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Other
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Habeas Corpus:
0 463 Alien Detainee
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0 535 Death Penalty

f Suit Code TaSRVIATS

© 375 False Claims Act

© 376 Qui Tam (31 USC
3729(a))

© 400 State Reapportionment

© 410 Antitrust

© 430 Banks and Banking

O 450 Commerce

0 460 Deportation

6 470 Racketeer Influenced and
Corrupt Organizations

O 480 Cc Credit

 

 

¥ 710 Fair Labor Standards
Act

0 720 Labor/Management
Relations

0 740 Railway Labor Act

0 751 Family and Medical
Leave Act

© 790 Other Labor Litigation

© 791 Employee Retirement
Income Security Act

IMMIGRATION

O 861 HIA (1395ff)

O 862 Black Lung (923)

1 863 DIWC/DIWW (405(g))
O 864 SSID Title XVI

OF 865 RSI (405(g))

D
0 870 Taxes (U.S. Plaintiff
or Defendant)
0 871 IRS—Third Party
26 USC 7609

 

Other:
1,540 Mandamus & Other
550 Civil Rights
J 555 Prison Condition
O 560 Civil Detainee -
Conditions of

© 462 Naturalization Application
465 Other Immigration
Actions

 

Confinement

0 490 Cable/Sat TV

0 850 Securities/Commodities!
Exchange

O 890 Other Statutory Actions

0 891 Agricultural Acts

O 893 Environmental Matters

0 895 Freedom of Information
Act

O 896 Arbitration

O 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of

State Statutes

 

 

 

V. ORIGIN (Place an “X" in One Box Only)

X11 Original
Proceeding

2 Removed from
State Court

oO 3

Remanded from
Appellate Court

o4

Reinstated or © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

VII, REQUESTED IN

COMPLAINT:

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

 

 

© CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

DEMAND $

Brief description of cause: - t r ~
Vaual eas ngtecrn

CHECK YES only i
JURY DEMAND:

DOCKET NUMBER

 

f demanded in complaint:
O Yes ONo

 

DATE

SIGNATURE OF ATTORNEY OF RECORD

 

 

FOR OFFICE USE ONLY

RECEIPT # 124299 AMOUNT

APPLYING IFP

JUDGE E MAG, JUDGE B j
